     Case 1:13-cr-00294-LJO-SKO Document 55 Filed 10/17/13 Page 1 of 2


 1   CAROL ANN MOSES #164193
     Attorney at Law
 2   575 East Alluvial, Ste. 105
 3   Fresno, California 93720
     Telephone: (559) 449-9069
 4   Facsimile: (559) 513-8530

 5

 6

 7

 8                                   UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                         CASE NO. 1:13-cr-00294-LJO-SKO

12                      Plaintiff,

13          v.                                         WAIVER OF DEFENDANT’S PERSONAL
                                                       APPEARANCE; ORDER THEREON
14   SUPHAN SAISEE,

15                      Defendant.

16

17                  Pursuant to Fed. R. Crim. P. 43(b)(3), Defendant, SUPHAN SAISEE, having been

18   advised of his right to be present at all stages of the proceedings, hereby requests that this Court

19   proceed in his absence on every occasion that the Court may permit, pursuant to this waiver.

20   Defendant agrees that his interests shall be represented at all times by the presence of his attorney,

21   CAROL ANN MOSES, the same as if Defendant were personally present, and requests that this

22   ///

23   ///

24   ///

25   ///

26   ///

27   ///

28   ///
                                                       1
     Case 1:13-cr-00294-LJO-SKO Document 55 Filed 10/17/13 Page 2 of 2


 1   Court allow his attorney-in-fact to represent his interests at all times. Defendant further agrees

 2   that notice to Defendant’s attorney that Defendant’s presence is required will be deemed notice to

 3   the Defendant of the requirement of his appearance at said time and place.

 4

 5   Dated: October 16, 2013                       By: /s/ Suphan Saisee
                                                          SUPHAN SAISEE
 6

 7   Dated: October 16, 2013                       By:   /s/ Carol Ann Moses
                                                           CAROL ANN MOSES
 8                                                         Attorney for Defendant,
 9                                                         SUPHAN SAISEE

10

11                                                 ORDER
12
                    GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that Defendant’s
13
     appearance may be waived at any and all non-substantive pretrial proceedings in accordance with
14
     Rule 43 of the Federal Rules of Criminal Procedure until further order of the Court.
15

16

17   IT IS SO ORDERED.

18      Dated:     October 16, 2013                            /s/ Barbara A. McAuliffe              _
19                                                       UNITED STATES MAGISTRATE JUDGE

20
21

22

23

24

25

26
27

28
